     Case 2:20-cv-01312-LTS-GWG
          1:20-cv-01312-LTS-GWG Document 54
                                         51 Filed 05/21/20
                                                  05/19/20 Page 1 of 6



     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK

     UBIQUITI INC.,
                                                                 1:20-CV-1312 (LTS)(GWG)
                           Plaintiff,

       -against-

     PERASO TECHNOLOGIES INC., BILL McLEAN,
     JIM WHITAKER, SHAWN ABBOT, DAVID
     ADDERLEY, IMED ZINE and RIAD ZINE,

                          Defendants.


                               SCHEDULING ORDER

         After consultation with the parties, the following scheduling order is adopted by

the Court pursuant to Rule 16 of the Federal Rules of Civil Procedure:

1.       Appearances for the Parties:

 Mario Aieta                                  Jodyann Galvin
 Peggy S. Chen                                Hodgson Russ LLP
 Duane Morris LLP                             The Guaranty Building
 230 Park Avenue, Suite 1130                  140 Pearl Street, Suite 100
 New York, NY 10169                           Buffalo, NY 14202
 (212) 818-9200                               (716) 848-1520
 maieta@duanemorris.com                       jgalvin@hodgsonruss.com
 pschen@duanemorris.com
                                              Counsel for Peraso Technologies, Inc.,
 Counsel for Plaintiff Ubiquiti Networks,     William A. McLean, William
 Inc.                                         James Whitaker, David M. Adderley,
                                              Imed Zine, and Riadh Zine


2.       Parties’ Statement of the Issues:

Plaintiff’s statement:

         Plaintiff Ubiquiti Inc. commenced this action for a declaratory judgment that

Ubiquiti has performed its obligations under the license and development agreement

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  Case 2:20-cv-01312-LTS-GWG
       1:20-cv-01312-LTS-GWG Document 54
                                      51 Filed 05/21/20
                                               05/19/20 Page 2 of 6



(“License Agreement”) between Ubiquiti and Defendant Peraso Technologies, Inc., that

Ubiquiti is not in breach of the License Agreement, that the License Agreement is in full

force and effect, and that Peraso is obligated to honor the terms of the License Agreement,

including its obligation to make the chipsets available to Ubiquiti exclusively as required

by the License Agreement. Ubiquiti also seeks compensatory damages from Peraso for the

losses it has suffered as a result of Peraso’s wrongful attempt to terminate the License

Agreement. Ubiquiti asserts a claim for fraud against Bill McLean, Peraso’s former CEO,

based on false representations made by McLean to Ubiquiti regarding Peraso’s attempt to

terminate the License Agreement. Ubiquiti asserts a claim for tortious interference with

business relations against McLean and the other individual defendants for causing Peraso

to wrongfully terminate the License Agreement in order to benefit themselves and their

employers to the detriment of Ubiquiti and the shareholders of Peraso.


Defendants’ statement:

       Peraso denies all material allegations of Ubiquiti’s Amended Complaint and

proposed Second Amended Complaint. Peraso intends to answer the Second Amended

Complaint and to interpose counterclaims. Peraso met all of its obligations under the

License Agreement. Ubiquiti, on the other hand, failed to respond to the Notice of

Default that was properly issued by Peraso, and Peraso then properly terminated the

License Agreement. In its answer to the Amended Complaint, Peraso asserted

counterclaims against Ubiquiti for its breach of contract, breach of duty of good faith and

fair dealing, and declaratory judgment. These counterclaims arise out of Ubiquiti’s

breach of the License Agreement and Peraso’s subsequent termination of it, as well as out


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       DM2\12648725.1
     Case 2:20-cv-01312-LTS-GWG
          1:20-cv-01312-LTS-GWG Document 54
                                         51 Filed 05/21/20
                                                  05/19/20 Page 3 of 6



Ubiquiti’s unreasonable conduct and campaign of interference with Peraso’s business,

financing, and imposition of terms other than those in the License Agreement.


        Riadh Zine, Imed Zine, William McLean, William James Whitaker, and David

Adderley defendants anticipate: (1) moving against the Second Amended Complaint on

the basis of lack of jurisdiction and failure to state a claim and (2) concurrently moving to

stay discovery as against them as individuals. To the extent the motion to dismiss is

denied, they deny the allegations in the Amended Complaint and deny that they

improperly acted to cause termination the License Agreement.


3.      Case Schedule:

        a.        Ubiquiti’s Second Amended Complaint shall be filed by May 22, 2020,
                  and defendants’ responses, including any motions to dismiss, shall be filed
                  by June 12, 2020. Any motion to dismiss shall be filed in accordance with
                  Judge Swain's Individual Practices.

        b.        Initial document requests and initial interrogatories shall be served by
                  June 24, 2020.

        c.        The deadline for joining parties or filing amended pleadings is June 30,
                  2020.

        d.        Non-expert witnesses expected to be deposed are:

                         Plaintiff’s anticipated witnesses:

                                 William McLean
                                 James Whitaker
                                 Shawn Abbott
                                 David Adderley
                                 Imed Zine
                                 Riadh Zine
                                 Ron Glibbery
                                 Declan Tormey

                         Defendants’ anticipated witnesses:

                                 Hartley Nisenbaum
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        DM2\12648725.1
  Case 2:20-cv-01312-LTS-GWG
       1:20-cv-01312-LTS-GWG Document 54
                                      51 Filed 05/21/20
                                               05/19/20 Page 4 of 6



                                   Todd Cramer
                                   Robert Pera
                                   Ying Chen


The parties anticipate that depositions will be scheduled for the period starting after the

parties make initial document productions and through the close of non-expert discovery.

The inclusion of an individual in the above list of witnesses expected to be deposed is not

an indication that any other party consents to the deposition of that witness.

       e.        All non-expert discovery shall be completed by May 7, 2021.

       f.        Expert witnesses:

               i.       Plaintiff anticipates having expert testimony regarding the chipset

                        technology in development under the License Agreement and whether

                        Peraso had met milestones for development under the License

                        Agreement. Defendants anticipate a possible expert or rebuttal expert

                        on the same issue if needed.

              ii.       Disclosure of the identities of expert witness and reports of experts

                        required by Rule 26(a)(2) shall be made by June 4, 2021.

             iii.       Rebuttal disclosure of the identities of rebuttal expert witnesses and

                        reports shall be made by June 25, 2021.

             iv.        Expert depositions shall be completed by July 30, 2021.

       g.        Pretrial dispositive motions, if any, shall be filed by August 27, 2021. If

                 the parties do not file any pretrial dispositive motions, the parties shall

                 submit a joint pretrial order by August 27, 2021. The parties shall follow

                 the rules of the assigned District Judge with respect to any pre-motion

                 conference, filing or other requirements for dispositive motions.
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       DM2\12648725.1
     Case 2:20-cv-01312-LTS-GWG
          1:20-cv-01312-LTS-GWG Document 54
                                         51 Filed 05/21/20
                                                  05/19/20 Page 5 of 6



4.      The parties anticipate entering into a confidentiality agreement and requesting a

protective or confidentiality order from the court before producing confidential

documents. The parties also anticipate entering into an agreement regarding the

discovery of electronically stored information (“ESI”).


5.      The parties have not yet encountered any discovery issues which they have been

unable to resolve. Should the parties find themselves in such a discovery dispute, the

parties shall follow the court’s rules and procedures concerning discovery disputes and

discovery motions.


6.      The parties anticipate that trial in this action will take 5 days. The parties do not

request a jury trial.


7.      The parties have engaged in settlement discussions but have not resolved the

issues. The parties believe the appropriate time to engage in formal mediation is after

some discovery has been completed. The parties do not currently have plans to engage a

private mediator. The parties shall write to to the Court as soon as both sides are

prepared to participate in a mediation or settlement conference.


8.      All discovery (including requests for admission and any applications to the Court

with respect to the conduct of discovery) must be initiated in time to be concluded by the

deadline for all discovery. Any application for an extension of the time limitations herein

must be made as soon as the cause for the extension becomes known to the party making

the application and in accordance with this Court’s Individual Practices. Any application

not in compliance with this paragraph will be denied. To the extent a party expects to


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        DM2\12648725.1
  Case 2:20-cv-01312-LTS-GWG
       1:20-cv-01312-LTS-GWG Document 54
                                      51 Filed 05/21/20
                                               05/19/20 Page 6 of 6



produce electronically stored information, the parties shall promptly discuss the protocols

for the search and review of such material.




SO ORDERED.

Dated: New York, New York
       May __,
           21 2020




                                              _______________________________
                                              GABRIEL W. GORENSTEIN
                                              United States Magistrate Judge




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